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                                                                                         04/25/2019

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                       )
       Plaintiffs,                              )       Civil Action No. 3:17-cv-00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER et al.,                         )       By:     Joel C. Hoppe
       Defendants.                              )               United States Magistrate Judge

          Before the Court is Plaintiffs’ motion to seal. ECF No. 476. Plaintiffs ask to file a

  number of exhibits under seal, and they note that Defendants have identified information in the

  exhibits as highly confidential. Having reviewed the exhibits, the Court has doubts about

  whether they satisfy the requirements for sealing in total. See W.D. Va. Gen. R. 9, Commentary

  (discussing First Amendment and common law right of public access to court documents and

  citing Va. Dep’t of State Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004)). Rather, it

  appears that the exhibits may be filed publicly with certain identifying information, such as email

  addresses, social media accounts, and telephone numbers, redacted. Additionally, the financial

  information attached to Defendant Jason Kessler’s discovery responses may be sealed in its

  entirety.

          Accordingly, the motion to seal is GRANTED IN PART, AND DENIED IN PART. The

  Clerk shall file under seal unredacted copies of Exhibits 1 through 9. On May 2, 2019, Plaintiffs

  shall publicly file copies of Exhibits 1 through 9, but all identifying information, such as

  telephone numbers, social media accounts, and email addresses, must be redacted. Additionally,

  the financial information in Exhibit 3 should not be filed publicly. Within five (5) days, any party

  may move, in accordance with Local Rule 9, that Exhibits 1 through 9 should be sealed in their

  entirety or additional information in those exhibits should be redacted.



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        It is so ORDERED.

        The Clerk shall send a copy of this Order to the parties.

                                                      ENTER: April 25, 2019



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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